              Case 1:20-cr-00183-RJJ ECF No. 302-1, PageID.1786 Filed 08/26/21 Page 1 of 5
FD-1087a (Rev. 5-8-10)
                                            UNCLASSIFIED

                         FEDERAL BUREAU OF INVESTIGATION
                                              Evidence Entry




          Event Title:      (U) Search of Ford F-150 truck               Date:   10/08/2020

          Approved By: HINES CHRISTINE A

          Drafted By:     HINES CHRISTINE A

          Case ID #: 266T-DE-3255044          (U) Ty Garbin
                                              Militia Extremism



          Collected From:     (U) Ty Garbin

          Receipt Given?:     No

          Holding Office:     DETROIT

          Item Type           Description
          1B Firearm          (U) Glock 19 9mm, S/N BDGE702
                              Collected On: 10/07/2020 11:50 PM EDT
                              Seizing Individual: BOWERS ELI
                              Located By: STEELE NATHAN R
                              Firearm Type: Weapon
                              Make: Glock
                              Model: 19
                              Caliber: 9 mm
                              Serial #: BDGE702
                              Weapon is visually certified safe or rendered
                              inoperable?: Yes
                              Certified Safe By: HARRIS H DANN II

          1B Firearm          (U) Rock Island Armory .22, S/N RIA2116581
                              Collected On: 10/07/2020 11:50 PM EDT
                              Seizing Individual: BOWERS ELI
                              Located By: STEELE NATHAN R
                              Location Area: Location D
                              Firearm Type: Weapon
                              Make: Rock Island Armory
                              Model: 14Y
                              Caliber: 22

                                            UNCLASSIFIED




                                                 Exhibit 1
 Case 1:20-cr-00183-RJJ ECF No. 302-1, PageID.1787 Filed 08/26/21 Page 2 of 5

                               UNCLASSIFIED
                  Title:   (U) Search of Ford F-150 truck
                     Re:   266T-DE-3255044, 10/08/2020




                 Serial #: RIA2116581
                 Weapon is visually certified safe or rendered
                 inoperable?: Yes
                 Certified Safe By: HARRIS H DANN II

1B Firearm       (U) CMMG MK4 rifle, S/N SWT05327
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D
                 Firearm Type: Weapon
                 Make: CMMG
                 Model: MK4
                 Caliber: 223/556
                 Serial #: SWT05327
                 Weapon is visually certified safe or rendered
                 inoperable?: Yes
                 Certified Safe By: HARRIS H DANN II

1B Firearm       (U) Mossberg Silver Reserve .410 shotgun, S/N
                 TR410009911
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D
                 Firearm Type: Weapon
                 Make: Mossberg
                 Model: Silver Reserve
                 Caliber: .410
                 Serial #: TR410009911
                 Weapon is visually certified safe or rendered
                 inoperable?: Yes
                 Certified Safe By: HARRIS H DANN II

1B General       (U) Silver silencer
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D


                               UNCLASSIFIED
                                      2




                                   Exhibit 1
 Case 1:20-cr-00183-RJJ ECF No. 302-1, PageID.1788 Filed 08/26/21 Page 3 of 5

                               UNCLASSIFIED
                  Title:   (U) Search of Ford F-150 truck
                     Re:   266T-DE-3255044, 10/08/2020




1B General       (U) Bronze silencer, S/N TY001 30 cal
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Garmin GPS-Model 645T
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Remington 410 shotgun shells in box SSLA
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Sightmark goggle NV kit, model SM14070
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B Digital       (U) Apple I-Pad, S/N DMPZN02PMF3Q
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Device Type: Laptop/Tablet Computer
                 Make: Apple
                 Model: I-Pad
                 Serial Number: DMPZN02PMF3Q
                 Number of Devices Collected: 1

1B General       (U) Tenpoint Stealth NXT Crossbow, S/N 2025816
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R


                               UNCLASSIFIED
                                      3




                                   Exhibit 1
 Case 1:20-cr-00183-RJJ ECF No. 302-1, PageID.1789 Filed 08/26/21 Page 4 of 5

                               UNCLASSIFIED
                  Title:   (U) Search of Ford F-150 truck
                     Re:   266T-DE-3255044, 10/08/2020




1B General       (U) Black Bravo concealment holster for Glock 19, 23, 32

                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) .22 magazine empty
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) 9mm loaded magazine and 1 CCLA
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) 2 tactical flashlights
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) 556 magazine
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Employment IDs for DTW Ty Garbin
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Firearms registration Ty Garbin
                 Collected On: 10/07/2020 11:50 PM EDT

                               UNCLASSIFIED
                                      4




                                   Exhibit 1
 Case 1:20-cr-00183-RJJ ECF No. 302-1, PageID.1790 Filed 08/26/21 Page 5 of 5

                               UNCLASSIFIED
                  Title:   (U) Search of Ford F-150 truck
                     Re:   266T-DE-3255044, 10/08/2020




                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Code cipher
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Tan Drago rifle bag
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D

1B General       (U) Black shotgun case
                 Collected On: 10/07/2020 11:50 PM EDT
                 Seizing Individual: BOWERS ELI
                 Located By: STEELE NATHAN R
                 Location Area: Location D




♦♦




                               UNCLASSIFIED
                                      5




                                   Exhibit 1
